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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                       Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

This Document Relates to:                   Judge M. Casey Rodgers
Jonathan Swaim, 8:20-cv-34303               Magistrate Judge Hope T. Cannon
Timothy Bush, 8:20-cv-34531
Ross Forrest, 8:20-cv-34768
Ivy Campbell, 8:20-cv-34949
Michael Hejmanowski, 8:20-cv-35070
Justin Mcshan, 7:20-cv-30099
Tyler Frey, 8:20-cv-35326
Gary Bergeron, 8:20-cv-35336
Mark Norman, 8:20-cv-35704
Willie Humes, 8:20-cv-35794
Terry Armstrong, 8:20-cv-35815
Dwan Jacobs, 8:20-cv-35463
Blaine Mott, 7:21-cv-05210
Steadman Friday, 7:21-cv-05264
Derrell Derouen, 7:23-cv-03557
Robert Williams, 3:22-cv-24152

                                     ORDER

      Primary Counsel have timely responded to the Court’s Order regarding

possible fraudulent releases in connection with the Settlement Program. ECF Nos.

4040, 4044 and 4048. The undersigned would like to have 3M’s reply before ruling,

primarily on the issue of whether 3M considers the subject Releases enforceable and

thus acceptable in the context of the Settlement Program. 3M’s reply is due within
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seven (7) days of the date of this Order. The Clerk is directed to enter a copy of this

Order on the main docket and on the individual dockets.

      DONE AND ORDERED this 17th day of May 2024.


                                  M. Casey Rodgers
                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE
